
5 A.3d 59 (2010)
416 Md. 71
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Jason Cord BUCKEL, Respondent.
Misc. Docket AG No. 16, Sept. Term 2010.
Court of Appeals of Maryland.
September 28, 2010.

ORDER
The Court of Appeals of Maryland, having considered the Joint Petition of the *60 Attorney Grievance Commission of Maryland and the Respondent, Jason Cord Buckel, to reprimand the respondent, it is this 28th day of September, 2010;
ORDERED, that the Joint Petition be, and it is hereby, GRANTED, and the Respondent, Jason Cord Buckel, is reprimanded by consent for violating Maryland Lawyers' Rules of Professional Conduct 1.3, 3.1 and 8.1(b).
